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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


DAN RAY STEVENSON,

                                Plaintiff,         No. 1:16-cv-00379(MAT)
                                                   DECISION AND ORDER
                    -vs-

NANCY A. BERRYHILL, Acting
Commissioner of Social Security,

                                Defendant.


                                 INTRODUCTION

      Represented      by   counsel,   Dan   Ray    Stevenson   (“Plaintiff”)

instituted this action pursuant to Title II of the Social Security

Act (“the Act”), seeking review of the final decision of the Acting

Commissioner of Social Security (“the Commissioner”)1 denying his

application for Disability Insurance Benefits (“DIB”). This Court

has jurisdiction over the matter pursuant to 42 U.S.C. §§ 405(g),

1383(c).

                               PROCEDURAL STATUS

      Plaintiff filed an application for DIB on November 20, 2012,

alleging disability beginning October 31, 2009. (T.120-26).2 After

      1

      Nancy A. Berryhill is now the Acting Commissioner of Social Security.
Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Nancy A.
Berryhill should be substituted for Acting Commissioner Carolyn W. Colvin as the
defendant in this suit. No further action needs to be taken to continue this suit
by reason of the last sentence of section 205(g) of the Social Security Act, 42
U.S.C. § 405(g).
      2

      Citations in parentheses to “T.” refer to pages from the certified
transcript of the administrative record.

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this    application     was   denied    (T.78-81),   Plaintiff    requested   a

hearing, which was held in Buffalo, New York, on August 12, 2014,

by     administrative    law    judge    Timothy     J.   Trost   (“the    ALJ”)

(See T.26-65, 84-85). Plaintiff appeared with his attorney and

testified. The ALJ did not call any witnesses. On December 11,

2014, the ALJ issued an unfavorable decision. (T.9-21). The Appeals

Council denied Plaintiff’s request for review on March 21, 2016,

making the ALJ’s decision the final decision of the Commissioner.

(T.1-4). This timely action followed.

       The parties have cross-moved for judgment on the pleadings

pursuant to Rule 12(c) of the Federal Rules of Civil Procedure. The

Court adopts and incorporates by reference herein the undisputed

and comprehensive factual summaries contained in the parties’

briefs. The record will be discussed in more detail below as

necessary to the resolution of this appeal. For the reasons that

follow, the Commissioner’s decision is affirmed.

                               THE ALJ’S DECISION

       The ALJ followed the five-step procedure established by the

Commissioner     for    evaluating     disability    claims.   See   20   C.F.R.

§ 404.1520.

       At step one, Plaintiff was found to meet the insured status

requirements of the Act through December 31, 2014. He had not

engaged in substantial gainful activity (“SGA”) since October 31,

2009, the


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alleged onset date.

       At step two, the ALJ found that Plaintiff had the following

“severe” impairments: Asperger’s Syndrome, anxiety disorder, and

depressive disorder. (T.14). The ALJ also determined that Plaintiff

has the following non-severe impairments: hypertension, flat feet,

diabetes     mellitus            (type   2),        congestive    heart     failure,

hyperlipidemia, and obesity, but that these impairments fail to

produce more than a minimal effect on Plaintiff’s ability to

perform basic work activities, a finding which Plaintiff does not

contest on appeal.

       At   step        three,     the   ALJ    determined       that    Plaintiff’s

impairments, considered singly or in combination, do not satisfy

the criteria of any impairment in the Listings of Impairments, set

forth at 20 C.F.R. Part 404, Subpart P, Appendix 1. (T.15). In

particular,     the      ALJ     considered    the    following   Listings:      12.04

(Affective Disorders), 1.06 (Anxiety-related Disorders), and 12.10

(Autistic Disorder and other pervasive developmental disorders).

With   regard      to    the     “paragraph    B”    criteria    for    these   listed

impairments, the ALJ determined that Plaintiff does not have

“marked” limitations in any domains of functioning. In regards to

activities of daily living, Plaintiff has “mild” restrictions. The

ALJ noted that Plaintiff lives with his parents but he can cook,

clean, launder, manage his medications and grocery shop, dress,

bathe, and groom independently; and he has hobbies and interests


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including Dungeons and Dragons, stop-motion animation, outdoor

survival, reading, and collecting television shows on DVD. In the

area of social functioning, the ALJ found that Plaintiff has “mild”

difficulties. Although Plaintiff reported that he never really had

many friends, the ALJ noted, Plaintiff has been involved in a

Dungeons and Dragons club since 2007, he does see one of the

players outside of meetings, he describes his family relationships

as “okay”, and he can identify basic emotions of other people,

though he has difficulty noticing subtler, non-verbal feedback.

With regard to the ability to maintaint concentration, persistence

or pace, the ALJ found that Plaintiff has “moderate” difficulties

and noted that the record supports “some” of the deterioration

claimed   by   Plaintiff       in   this   category.    As   for   episodes    of

decompensation,     the       ALJ   concluded    that    Plaintiff    has     not

experienced any such episodes at all.

     Prior to proceeding to step four, the ALJ assessed Plaintiff

as having the residual functional capacity               (“RFC”) to perform

“essentially the full range of all work activities” with some

“minor” non-exertional limitations due to his Asperger’s Syndrome,

depression and anxiety disorders. In particular, the ALJ determined

that Plaintiff “retains the ability to do the following on a

sustained   basis   in    a    competitive      employment   setting:   learn,

remember and carry out job functions, concentrate upon and attend

to the duties of the job, make appropriate employment-related


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judgments, respond to supervision and co-workers in usual job

settings, deal appropriately with routine changes in the work

setting in a work environment free of unexpected loud noises.”

(T.18).

     At step four, the ALJ determined that Plaintiff has past

relevant work   as   a metal    finisher     (performed at      the   “heavy”

exertional level) and a kitchen helper (performed at the “medium”

exertional level). The ALJ noted that Plaintiff worked as a metal

finisher from September 2000, to October 2009; his employment ended

not due to his impairments but because the company he worked for

went out of business following the recession. The ALJ found that

Plaintiff also could perform his past relevant work as a kitchen

helper, which he performed on a part-time basis, but at SGA levels,

from January 1991, to January 2000. (T.20-21).

     Because the ALJ found that Plaintiff could perform his past

relevant work, the ALJ did not proceed to step five. Accordingly,

the ALJ entered a finding of not disabled.

                            SCOPE OF REVIEW

     A decision that a claimant is not disabled must be affirmed if

it is supported by substantial evidence, and if the ALJ applied the

correct legal   standards.     See   42    U.S.C.   § 405(g).    “Where   the

Commissioner’s decision rests on adequate findings supported by

evidence having rational probative force, [the district court] will

not substitute [its] judgment for that of the Commissioner.” Veino


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v. Barnhart, 312 F.3d 578, 586 (2d Cir. 2002). This deferential

standard is not applied to the Commissioner’s application of the

law, and the district court must independently determine whether

the Commissioner’s decision applied the correct legal standards in

determining that the claimant was not disabled. Townley v. Heckler,

748 F.2d 109, 112 (2d Cir. 1984). Therefore, this Court first

reviews whether the applicable legal standards were correctly

applied, and, if so, then considers the substantiality of the

evidence. Johnson v. Bowen, 817 F.2d 983, 985 (2d Cir. 1987).

                                   DISCUSSION

I.   Failure to Discuss Opinion              of   State    Agency    Consultant
     (Plaintiff’s First Point)

     Plaintiff asserts that the ALJ committed legal error in

failing to discuss the medical opinion offered by Dr. Totin, a

State agency psychological review consultant, who completed a

psychiatric review technique (“PRT”) and a mental RFC assessment on

April    17,   2013.     (See   T.70-71,      73-75).     See   20   C.F.R.    §

404.1527(e)(2)(ii)       (“State    agency      medical   and   psychological

consultants and other program physicians, psychologists, and other

medical specialists are highly qualified physicians, psychologists,

and other medical specialists who are also experts in Social

Security    disability    evaluation.       Therefore,    administrative      law

judges must consider findings and other opinions of State agency

medical and psychological consultants and other program physicians,

psychologists, and other medical specialists as opinion evidence,

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except   for    the    ultimate    determination   about   whether   you   are

disabled[.]”) (version eff. Aug. 24, 2012 to Mar. 26, 2017).

       The Commissioner concedes that neither of these forms by Dr.

Totin were explicitly referenced by the ALJ in his decision.

Nevertheless, the Commissioner argues, this does not mean they were

not considered. See, e.g., Durakovic v. Colvin, No. 3:12–CV–6(FJS),

2014 WL 1293427, at *8 (N.D.N.Y. Mar. 31, 2014) (“[I]t is not

‘require[d] that [the ALJ] have mentioned every item of testimony

presented to him or have explained why he considered particular

evidence unpersuasive or insufficient to lead him to a conclusion

of disability.’”) (quoting Mongeur v. Heckler, 722 F.2d 1033, 1040

(2d Cir. 1983) (per curiam) (citation omitted in original); citing

Barringer v. Comm’r of Soc. Sec., 358 F. Supp.2d 67, 79 (N.D.N.Y.

2005) (stating that “‘an ALJ is not required to discuss all the

evidence submitted, and [his] failure to cite specific evidence

does not indicate that it was not considered’”) (quoting Craig v.

Apfel, 212 F.3d 433, 436 (8th Cir. 2000)); other citation omitted).

       Here, although the ALJ did not discuss Dr. Totin’s opinion,

the ALJ indicated in his decision that he considered “all of the

evidence” and the “entire record” in making his findings regarding

Plaintiff’s DIB claim. (T.12, 18). See, e.g., Miles v. Harris, 645

F.2d   122,    124    (2d   Cir.   1981)   (“Notwithstanding   the   apparent

inconsistency between the reports of Dr. Delahanty and that of Dr.

Elstein, we are unwilling to require an ALJ explicitly to reconcile


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every    conflicting     shred   of   medical   testimony.     .    .   .   It   is

sufficient that the ALJ noted that he carefully considered the

exhibits presented in evidence in reaching his decision.”).

       Even assuming there was legal error, any such error was

harmless insofar as the ALJ’s omission could have had no effect on

the ultimate RFC assessment. As an initial matter, the Court notes

that Dr. Totin was a consultant who only reviewed Plaintiff’s

mental health care records. Since he did not personally examine

Plaintiff, the ALJ presumptively was entitled to accord Dr. Totin’s

entitled to less weight than the opinions issued by the providers

who examined or treated Plaintiff personally. Indeed, the ALJ

assigned significant weight to the opinions of two examining

providers, Dr. Michael Santa Maria and Dr. Greg Fabiano. Dr. Santa

Maria, who evaluated Plaintiff on August 9, 2010 (T.198-05), noted

that    while   Plaintiff    reported       social   anxiety       symptoms,     he

participated in a role playing game group every other Saturday

since 2007. (T.198). He enjoyed reading but was bothered by loud,

unexpected sounds. (T.199). Plaintiff reported to Dr. Santa Maria

that he had a good relationship with his parents. (T.199). He paid

his cable bill by money order and independently bathed, dressed,

cooked, washed laundry, cleaned, managed his medication, and went

grocery shopping, although he did not drive. On examination,

Plaintiff was fully oriented, but made inconsistent eye contact.

(T.200).     Plaintiff    completed     four    or   five    “serial        seven”


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subtractions       from    100   and   five     out     of   five     “serial      three”

subtractions from 50; recalled two of three words after a brief

delay;   and   accurately        completed      three    steps      in   a     three-step

command. He could not spell “world” backward, but could spell it

forward. His speech was normal and there was no evidence of

self-harm or threat of harm to others, or any manic, paranoid, or

delusional     symptoms.      Dr.     Santa    Maria    noted    that        Plaintiff’s

responses were prompt and careful, and Plaintiff was polite and

cooperative. (T.200). Dr. Santa Maria opined that Plaintiff met the

diagnostic criteria for Asperger’s Disorder, and, as a result,

experienced      some     difficulties       with    both    verbal      and    nonverbal

aspects of communication. (T.204). Nonetheless, Plaintiff’s overall

intellectual abilities were in the average range; he demonstrated

strength in verbal aspects of intellect with relative weakness in

some   aspects     of     attention    and    processing      speed.      In     general,

Plaintiff    was    stronger     in    verbal       versus   nonverbal         abilities.

(T.204). In Dr. Santa Maria’s opinion, Plaintiff had the cognitive

capacity to handle certain types of work, including his past work

in metal finishing and kitchen help. (T.205).

       Gregory Fabiano, Ph.D., evaluated Plaintiff on February 5,

2013, at the request of the State Agency. Again, Plaintiff reported

that he stopped working because he was let go for budget reasons

and not his work performance or disability. On examination, Dr.

Fabiano noted that Plaintiff was well groomed but had poor eye


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contact. His speech was adequate and his thought process was

coherent; he was able to count, perform simple calculations and do

serial three’s. Plaintiff was able to cook, shop and manage money,

but did not do general cleaning, laundry, drive or use public

transportation.3         Dr.    Fabiano      observed     that    “some    of   his

difficulties were caused by motivation issues as well as some of

his social pragmatic [sic] issues.” Dr. Fabiano was of the opinion

that, notwithstanding his Asperger’s Syndrome and anxiety symptoms,

Plaintiff    could    perform       simple   work,     maintain    attention    and

concentration,     maintain     a    schedule,    learn    new    tasks,   perform

complex tasks, make appropriate decisions, relate adequately with

others and appropriately deal with stress.

      Plaintiff      urges   the     Court   to   essentially      disregard    the

foregoing opinions issued by examining physicians Dr. Santa Maria

and Dr. Fabiano, which are not inconsistent with the ALJ’s RFC

assessment, in favor of a select few findings by non-examining

consultant Dr. Totin. In particular, Plaintiff cites Dr. Totin’s

findings in section I of the mental RFC assessment that Plaintiff

has   “moderate”      limitations      in    certain    areas     of   maintaining

concentration and persistence, social interaction, and adaptation.




      3

      The Court notes that   only the failure to use public transportation could
be relevant to Plaintiff’s   symptoms from his mental impairments (e.g., anxiety
and panic attacks), since    he has no severe physical impairments which would
preclude him from cleaning   and doing laundry at home.

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(T.73-75).4 Here, rather than provide a narrative as contemplated

by POMS DI 24510.060(B)(4), Dr. Totin simply wrote, “see ptrf

[sic]”. (See T. 74-75, referring to T.71). This circular direction

by   Dr.   Totin    back       to   his   PRT    findings    was    not    particularly

illuminating. In any event, it does assist Plaintiff’s argument,

since these findings were not binding on the ALJ.                        See 20 C.F.R. §

404.1527(e)(2)(I) (“Administrative law judges are not bound by any

findings made by State agency medical or psychological consultants,

or other program physicians or psychologists.”) (version eff. Aug.

24, 2012 to Mar. 26, 2017). Dr. Totin’s ultimate conclusion, based

on   the   PRT     findings,        was    that    Plaintiff       had    a   “moderate”

psychiatric impairment that would not preclude him from working, a

conclusion which is not at odds with the ALJ’s RFC assessment.

(T.71). Significantly, Dr. Totin found that Plaintiff had no

significant limitations in the following areas: carrying out very

short and simple instructions, carrying out detailed instructions,

maintaining        concentration          for     extended    periods,         performing

activities    within       a    schedule,       maintaining    regular        attendance,



      4

      The Commissioner explains that this section of the form to which Plaintiff
refers is used to initially rate an individual’s abilities to perform sustained
work activities and, according to Program Operations Manual System (POMS) DI
24510.060(B)(2), is “merely a worksheet to aid in deciding the presence and
degree of functional limitations and the adequacy of documentation and does not
constitute the RFC assessment.” Id. (emphasis omitted). Section III (“Functional
Capacity Assessment”) is where “the actual mental RFC assessment is recorded.”
Id. (emphasis omitted). Section III is a narrative that explains the “conclusions
indicated in Section I, in terms of the extent to which these mental capacities
or functions could or could not be performed in work settings.” POMS DI
24510.060(B)(4).

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making simple-work related decisions, and being punctual within

customary    tolerances,    and   had    only     moderate    limitations    in

sustaining an ordinary routine and working with or in proximity to

others without being distracted by them. (T.74).Dr. Totin then

stated that a low-stress, low-contact setting “would be optimal[.]”

(T.71;    emphasis   supplied).      However,     contrary    to   Plaintiff’s

argument,   Dr. Totin’s     use of      the    conditional   “would   be”   and

description of such a setting “optimal” indicates that this was not

meant to be a mandatory, non-exertional limitation, but rather

would be the most favorable work setting for Plaintiff. In any

event, as noted above, the ALJ was not required to adopt Dr.

Totin’s    recommendation    about      what    would   be   the   ideal    work

environment for Plaintiff.

II.   Erroneous Credibility Assessment (Plaintiff’s Second Point)

      Plaintiff contends that the ALJ’s credibility assessment was

the product of legal error and unsupported by substantial evidence.

      The ALJ noted Plaintiff’s testimony that he would be unable to

sustain full-time work activity, 8 hours a day, 5 days a week or an

equivalent schedule because (1) he suffers from anxiety and has

panic attacks, (2) has memory problems, (3) he forgets to take his

medications, and (4) his Asperger’s disorder has worsened as he has

gotten older. The ALJ then recited the factors set forth in the

Commissioner’s Regulations to be used when evaluating the intensity

and persistence of a claimant’s subjective complaints and symptoms,


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including      his    “daily   activities”;       “[t]he   location,      duration,

frequency,      and    intensity    of   [his]     pain    or    other   symptoms”;

“[p]recipitating and aggravating factors”; “[t]he type, dosage,

effectiveness, and side effects of any medication . . . taken to

alleviate [his] pain or other symptoms”; “[t]reatment, other than

medication, . . . received for relief of . . . pain or other

symptoms”; “[a]ny measures . . . used to relieve . . . pain or

other symptoms”; and “[o]ther factors concerning [his] functional

limitations and restrictions due to pain or other symptoms.” 20

C.F.R.     §   404.1529(c)(3).       The    ALJ     stated      that     Plaintiff’s

“allegation of total disability is not credible to the extent

alleged[,]” and then proceeded to discuss various items of evidence

in   the   record.      Plaintiff    contends      that    the    ALJ    failed   to

specifically refer to these credibility factors when assessing

Plaintiff’s testimony and failed to provide sufficiently specific

reasons for rejecting the Plaintiff’s subjective complaints.

      “[W]hile it is ‘not sufficient for the [ALJ] to make a single,

conclusory statement that’ the claimant is not credible or simply

to recite the relevant factors, [Social Security Ruling 96–7p, 1996

WL 374186, at *2 (S.S.A. July 2, 1996]], remand is not required

where ‘the evidence of record permits [the court] to glean the

rationale of an ALJ’s decision[.]’” Cichocki v. Astrue, 534 F.

App’x 71, 76 (2d Cir. 2013) (unpublished opn.) (quoting Mongeur v.

Heckler, 722 F.2d 1033, 1040 (2d Cir. 1983)). Here, the ALJ’s


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analysis and organization was not a model of clarity, and the Court

agrees that the ALJ made an ill-advised editorial comment about

Plaintiff’s life trajectory, the Court finds the ALJ’s credibility

discussion was sufficiently specific to meet the requirements

adopted by courts in this Circuit.

     As noted above, the ALJ noted that Plaintiff believed he was

disabled from performing full-time work due to his anxiety and

panic attacks, memory problems (e.g., forgetting to take his

medications), and increased symptoms from his Asperger’s Syndrome

as he has aged. The ALJ discussed the opinion of Dr. Drew Messer,

which largely echoed Plaintiff’s subjective complaints regarding

his Asperger’s Syndrome, and found that it was contradicted by

Plaintiff’s “lengthy and steady work record,” which reveals he held

employment as a kitchen helper for 10 years and then a job as a

metal finisher for 9 years, and only stopped working because he was

laid off due to the economic downturn in 2009, not due to any

performance-related   issues on    Plaintiff’s    part.   This evidence

implicates the credibility factor that pertains to the nature and

extent of Plaintiff’s daily activities as well as the “catch all”

category in 20 C.F.R. § 404.1529(c)(3). The ALJ also noted, when

discussing Dr. Messer’s opinion, that he had “infrequent contact”

with Plaintiff. This is an accurate characterization, given Dr.

Messer’s statement that he treated Plaintiff monthly for three

months in 2010, and had then had single sessions with Plaintiff in


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2013 and 2014. (T.316, 313-14, 335). The nature of Plaintiff’s

treatment with Dr. Messer is relevant to the credibility factors

pertaining to the pharmaceutical and other treatment modalities

utilized by Plaintiff in an attempt to alleviate the symptoms of

his mental impairments. Plaintiff’s reported list of medications

does   not   include    any   prescription      drugs   or   non-prescription

remedies for Asperger’s Syndrome or anxiety disorder. In an undated

disability report, Plaintiff stated that he takes the following

medications: amlodipine (a calcium channel blocker), fish oil,

glipizide     (an      anti-diabetic        medication),     hydralazine      (a

vasodilator), iron, lovastatin (a statin), metoprolol (a beta-

blocker),    triamterene      (a    diuretic),     hydrocholorthiazide        (a

diuretic),    and   vitamin    D.   (T.148).     Plaintiff’s    sporadic   and

infrequent appointments with Dr. Messer suggest that the symptoms

from his mental impairments are not as debilitating as he alleges.

See F.S. v. Astrue, No. 1:10-CV-444 MAD, 2012 WL 514944, at *20

(N.D.N.Y.    Feb.   15,   2012)     (“The    Commissioner    may   discount    a

[claimant]’s testimony to the extent that it is inconsistent with

medical evidence, the lack of medical treatment, and activities

during the relevant period.”) (citing Howe-Andrews v. Astrue, No.

CV-05-4539(NG), 2007 WL 1839891, at *10 (E.D.N.Y. June 27, 2007)

(“[T]he Commissioner discounted [the claimant]’s testimony and

affidavit to the extent that they were inconsistent with medical

evidence, the lack of medical treatment, and her own activities


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during     the     relevant     period.    This     conclusion    was    based    on

substantial evidence. . . .As a result, the Commissioner was not in

error in considering but ultimately rejecting [the claimant]’s

complaints and allegations of limitations.”)).

     Furthermore, there is substantial support in the record for

the ALJ’s decision to discredit Plaintiff’s subjective statements

that his symptoms were so severe as to be disabling within the

meaning of the Act. In particular, the Court notes that Plaintiff’s

allegations      of    severe   difficulties       in   the   context    of   social

interaction are inconsistent with treatment records from various

providers such as Dr. Santa Maria and Dr. Fabiano, who both stated

that Plaintiff was a good candidate for vocational training, thus

indicating a greater degree of work-related functional ability than

contemplated by Plaintiff’s testimony. See Poupore v. Astrue, 566

F.3d 303, 305-06 (2d Cir. 2009) (ALJ’s determination that claimant

was not disabled was supported by substantial evidence, including

report of claimant’s treating physician stating that claimant would

be an excellent candidate for vocational rehabilitation).

                                    CONCLUSION

     For     the      foregoing    reasons,       the   Court    finds   that    the

Commissioner’s decision is supported by substantial evidence and,

to the extent there is any legal error in the decision, it is

harmless. Therefore, the Court affirms the Commissioner’s decision

denying benefits, grants Defendant’s motion for judgment on the


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pleadings, and denies Plaintiff’s motion for judgment on the

pleadings.   The Clerk of Court is directed to close this case.

     SO ORDERED.


                                         S/ Michael A. Telesca

                                 __________________________
                                   HON. MICHAEL A. TELESCA
                                 United States District Judge
Dated:    May 31, 2017
          Rochester, New York.




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